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 2                                    UNITED STATES DISTRICT COURT

 3                               FOR THE NORTHERN DISTRICT OF TEXAS

 4                                            AMARILLO DIVISION

 5    STATE OF TEXAS, ET AL.
 6
             Plaintiffs,
 7                                                               Case No. 2:24-CV-00089-Z
             v.
 8
      BUREAU OF ALCOHOL, TOBACCO,
 9    FIREARMS AND EXPLOSIVES, ET AL.
10
             Defendants
11

12
     MOTION OF BRADY CENTER TO PREVENT GUN VIOLENCE, MARCH FOR OUR LIVES,
13   GIFFORDS LAW CENTER TO PREVENT GUN VIOLENCE, AND EVERYTOWN FOR GUN
          SAFETY FOR LEAVE TO FILE A BRIEF AS AMICI CURIAE IN SUPPORT OF
14
       DEFENDANTS AND IN OPPOSITION TO PLAINTIFFS’ MOTION FOR TEMPORARY
15                 RESTRAINING ORDER/PRELIMINARY INJUNCTION

16                  Brady Center to Prevent Gun Violence, March for Our Lives, Giffords Law Center to

17   Prevent Gun Violence, and Everytown for Gun Safety respectfully move this Court for leave to file the

18   attached brief as amici curiae in support of Defendants and in opposition to Plaintiffs’ motion for

19   stay/preliminary injunction. For the reasons described below, the proposed brief contains relevant material

20   that may aid the Court in resolving the issues raised by Plaintiffs’ motion. Counsel for the parties have

21   been consulted regarding this motion; defendants’ counsel has consented to the filing of the attached brief

22   while plaintiffs’ counsel has not provided consent.

23                  Amici are among the nation’s foremost authorities on law and policy relating to the

24   prevention and reduction of gun violence. The Brady Center to Prevent Gun Violence (“Brady”) is the

25   nation’s longest-standing non-partisan, non-profit organization dedicated to reducing gun violence

26   through education, research, legal advocacy, and political action. Brady has filed numerous amicus briefs

27   in cases involving the constitutionality of firearms regulations, and courts have cited Brady’s research and

28   expertise. March For Our Lives (“MFOL”) is a youth-led non-profit organization dedicated to promoting


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 1   civic engagement, education, and direct action by youth to achieve sensible gun violence prevention
 2   policies that will save lives. MFOL has filed numerous amicus briefs in cases involving firearm
 3   regulations. Giffords Law Center to Prevent Gun Violence (“Giffords Law Center”) is a survivor-led non-
 4   profit policy organization serving lawmakers, advocates, legal professionals, gun violence survivors, and
 5   others who seek to reduce gun violence and improve the safety of their communities. Giffords Law Center
 6   has contributed technical expertise and informed analysis as an amicus in numerous cases involving
 7   firearm regulations and constitutional principles affecting gun policy. Everytown for Gun Safety Support
 8   Fund is the education, research, and litigation arm of Everytown for Gun Safety (“Everytown”), the largest
 9   gun violence prevention organization in the country. Everytown has extensive experience litigating cases
10   involving the interpretation of federal firearms laws and has submitted numerous amicus briefs in cases
11   involving challenges to federal firearms laws and regulations.
12                   This case involves challenges to a regulation that determines the circumstances under
13   which those who sell firearms must obtain a Federal Firearms License and comply with certain
14   recordkeeping obligations, permit inspections and oversight by ATF, and assume a duty to conduct
15   background checks of prospective buyers. Amici have extensive experience in studying how federal
16   firearms regulations such as the one at issue in this case affect public safety. Amici are submitting this
17   brief to give the Court the benefit of their experience and expertise, and to provide information not brought
18   to the Court’s attention by the parties to this case.
19                                                      CONCLUSION
20                   Amici curiae request that the Court grant amici curiae leave to file the attached brief in
21   support of defendants and in opposition to plaintiffs’ motion for a temporary restraining order and/or
22   preliminary injunction.
23

24                   Dated: May 14, 2024
25

26                                                                       Respectfully submitted,
27                                                                       /s/ John Graubert
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 2

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                                                           Counsel for Brady Center to
 9                                                         Prevent Gun Violence, March for
                                                           Our Lives, Giffords Law Center to
10
                                                           Prevent Gun Violence, and
11                                                         Everytown for Gun Safety

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 1                                  CERTIFICATE OF CONFERENCE (Local Rule 7.1)
 2
                    Counsel for movant conferred via email with counsel for plaintiffs. Counsel for
 3
     plaintiffs did not provide consent to this motion for permission to file the attached brief as amici curiae.
 4

 5
                    Counsel for movant also conferred via email with counsel for defendants, who
 6
     confirmed that defendants do not oppose this motion for permission to file the attached brief as amici
 7
     curiae.
 8
 9                  Dated: May 14, 2024

10                                                                        /s/ John Graubert

11                                                                        John Graubert
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 1                                     CERTIFICATE OF SERVICE
 2
                    I hereby certify that, on May 14, 2024, I caused the foregoing document to be filed with
 3
     the Clerk of the Court of the United States District Court for the Northern District of Texas using the
 4
     Court’s CM/ECF system.
 5

 6                                                                     /s/ John Graubert

 7                                                                     John Graubert

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